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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                           :
                                                    :
               v.                                   :    CRIMINAL NO. 21-cr-541 (PLF)
                                                    :
 FI DUONG,                                          :
 also known as “Jim,”                               :
 also known as “Monkey,”                            :
 also known as “Monkey King,”                       :
                                                    :
                     Defendant.                     :

                                    JOINT STATUS REPORT

        The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and the defendant, Fi Duong, by and through his undersigned counsel, respectfully

submit this joint status report, in accordance with the Court’s November 8, 2022 Minute Order.

        1.      The defendant is charged by way of Indictment with five counts relating to criminal

conduct at the U.S. Capitol on January 6, 2021: 18 U.S.C. §§ 1512(c)(2), 2 (Obstruction of an

Official Proceeding); 18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building or

Grounds); 18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a Restricted Building or

Grounds); 40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building); and 40 U.S.C.

§ 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building).

        2.      The defendant is currently on release from custody with conditions and is in the

High Intensity Supervision Program.

        3.      The parties have met and conferred about the status of the case and are in discussion

as to whether there is a potential pretrial disposition of the case.
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           4.      The government continues to produce discovery to the defendant. The government

    has produced significant discovery specific to the defendant as well as discovery applicable to the

    January 6 Capitol Siege generally.

           5.      The parties have discussed their availability for a next status hearing and propose a

    hearing on December 14, 2022 at 2:00 p.m.

           6.      The parties have discussed and agree that time until the next status hearing should

    be excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The

    parties submit that the ends of justice served by the granting of such an exclusion of time outweigh

    the best interests of the public and the defendant in a speedy trial, as it will provide the parties

    additional time to continue negotiating a potential pretrial resolution and to review discovery.

                                                  Respectfully submitted,


MATTHEW M. GRAVES                                    By:          /s/ Sabrina Shroff
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                                                     Attorney for Fi Duong
By:          /s/ Stuart Allen
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